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15   See next page for list of additional counsel
16
                                 UNITED STATES DISTRICT COURT
17
                               CENTRAL DISTRICT OF CALIFORNIA
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19
     Balmore Prudencio, and Michelle                   Case No. 2:18-cv-01469-AB-RAO
20   Quintero, individually on behalf of
     themselves and all others similarly               Assigned to: Hon. André Birotte, Jr.
21   situated, and John Does (1-100) on behalf
     of themselves and all others similarly            STIPULATION SETTING
22   situated,                                         BRIEFING SCHEDULE FOR
                                                       MOTION TO DISMISS SECOND
23                     Plaintiffs,                     AMENDED CLASS ACTION
                                                       COMPLAINT
24               -against-
25   Midway Importing, Inc. and Grisi USA,             Complaint Filed: February 22, 2018
     LLC,
26
                       Defendants.
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                        STIPULATION SETTING BRIEFING SCHEDULE FOR MOTION TO DISMISS
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                        SECOND AMENDED CLASS ACTION COMPLAINT - 2:18-CV-01469-AB-RAO
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                  STIPULATION SETTING BRIEFING SCHEDULE FOR MOTION TO DISMISS
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1          This stipulation is made and entered into and between Plaintiffs
2    Balmore Prudencio and Michelle Quintero (together, “Plaintiffs”) and Defendants
3    Grisi USA, LLC and Midway Importing, Inc., (together “Defendants”), by and
4    through their respective counsel, with reference to each of the following:
5          WHEREAS, Plaintiffs filed a Second Amended Complaint (the “SAC”) in the
6    this matter on September 11, 2018;
7          WHEREAS, pursuant to the Court’s September 27, 2018 Order (Dkt. No. 41),
8    Defendants filed a Motion to Dismiss Plaintiffs’ Second Amended Class Action
9    Complaint on October 12, 2018;
10         WHEREAS, Defendants noticed the hearing on the Motion to Dismiss
11   December 14, 2018;
12         WHEREAS, counsel for the parties have agreed to an extension of time for
13   Plaintiffs to file an opposition to the Motion to Dismiss, and for Defendants to file a
14   reply thereto;
15         WHEREAS, the parties represent that this stipulation is made in the interest of
16   justice, not to delay the proceedings, and will not prejudice any party;
17         THEREFORE: the parties, through their undersigned counsel, hereby agree and
18   stipulate and request that the Court order that:
19         1.      Plaintiffs shall file an opposition to the Motion to Dismiss the Second
20   Amended Class Action Complaint on or before November 7, 2018; and
21         2.      Defendants shall file a reply to Plaintiffs’ opposition on or before
22   November 30, 2018.
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                    STIPULATION SETTING BRIEFING SCHEDULE FOR MOTION TO DISMISS
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1    IT IS SO STIPULATED.
2
3    DATED: October 12, 2018              SHOOP A PROFESSIONAL LAW
                                          CORPORATION
4
5
                                          By: /s/ David R. Shoop
6                                             David R. Shoop
7                                             Attorneys for Plaintiffs and the Class
8    DATED: October 12, 2018              THE SULTZER LAW GROUP P.C.
9
10                                        By: /s/ Jeremy Francis
11                                            Jason P. Sultzer
                                              Joseph Lipari
12                                            Adam Gonnelli
13                                            Jeremy Francis
                                              Attorneys for Plaintiffs and the Class
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                STIPULATION SETTING BRIEFING SCHEDULE FOR MOTION TO DISMISS
                SECOND AMENDED CLASS ACTION COMPLAINT - 2:18-CV-01469-AB-RAO
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1    DATED: October 12, 2018                 LEEDS BROWN LAW, P.C.
2
3                                            By: /s/ Jeffrey Brown
4                                                Jeffrey Brown
                                                 Attorneys for Plaintiffs and the Class
5
6    DATED: October 12, 2018                 SIDLEY AUSTIN LLP

7
                                             By: /s/ Rachel A. Straus
8
                                                 Rachel A. Straus
9                                                Attorneys for Defendants
                                                 MIDWAY IMPORTING, INC. and
10
                                                 GRISI USA, LLC
11
12
13                                FILER’S ATTESTATION

14         Pursuant to Local Rule 5-4.3.4(a)(2) of the Central District of California, I attest

15   that I have concurrence in the filing of this document.

16
17                                                        By: /s/ Rachel Straus

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                  STIPULATION SETTING BRIEFING SCHEDULE FOR MOTION TO DISMISS
                  SECOND AMENDED CLASS ACTION COMPLAINT - 2:18-CV-01469-AB-RAO
